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                                           1    SAMUEL R. MAIZEL (Bar No. 189301)
                                                samuel.maizel@dentons.com
                                           2    TANIA M. MOYRON (Bar No. 235736)
                                                tania.moyron@dentons.com
                                           3    DENTONS US LLP
                                                601 South Figueroa Street, Suite 2500
                                           4    Los Angeles, California 90017-5704
                                                Telephone: 213 623 9300
                                           5    Facsimile: 213 623 9924
                                           6    Proposed Attorneys for the Chapter 11 Debtor
                                                and Debtor In Possession
                                           7

                                           8
                                                                      UNITED STATES BANKRUPTCY COURT
                                                                      SOUTHERN DISTRICT OF CALIFORNIA
                                           9
                                                In re                                     Case No. 22-02384-11
                                          10
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 LOS ANGELES , CALIFORNIA 90017-5704




                                                BORREGO COMMUNITY
                                          11    HEALTH FOUNDATION,                        Chapter 11 Case
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                                          12      Debtor and Debtor In
            (213) 623-9300




                                                Possession.                               DEBTOR’S EMERGENCY FIRST DAY
                                          13                                              MOTION OF DEBTOR FOR
                                                                                          AUTHORITY TO: (I) CONTINUE
                                          14                                              USING EXISTING CASH
                                                                                          MANAGEMENT SYSTEM, BANK
                                          15                                              ACCOUNTS AND BUSINESS FORMS;
                                                                                          (II) IMPLEMENT CHANGES TO THE
                                          16                                              CASH MANAGEMENT SYSTEM IN
                                                                                          THE ORDINARY COURSE OF
                                          17                                              BUSINESS; (III) REMIT CAPITATION
                                                                                          PAYMENTS TO OR AS DIRECTED BY
                                          18                                              THE PURCHASER OF THE
                                                                                          RIVERSIDE CLINICS; AND (IV)
                                          19                                              OBTAIN RELATED RELIEF;
                                                                                          MEMORANDUM OF POINTS AND
                                          20                                              AUTHORITIES IN SUPPORT
                                                                                          THEREOF
                                          21

                                          22                                              [Declaration of Isaac Lee in Support of
                                                                                          Debtor’s First Day Motions filed
                                          23                                              concurrently herewith]
                                          24
                                                                                          Judge: Honorable Laura S. Taylor
                                          25                                              Date: TBD
                                                                                          Time: TBD
                                          26                                              Place: TBD
                                          27

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                                           1                                   EMERGENCY MOTION
                                           2           Pursuant to Local Bankruptcy Rule 9013-9 and §§ 105, 363, 364, 503 and 507
                                           3   of title 11 of the United States Code (the “Bankruptcy Code”),1 Borrego Community
                                           4   Health Foundation (the “Debtor”), the debtor and debtor in possession in the above-
                                           5   captioned chapter 11 bankruptcy case (the “Case”), hereby moves, on an emergency
                                           6   basis (the “Motion”), for the entry of an order, pursuant to for entry of an order
                                           7   (substantially in the form attached hereto as Exhibit “A” (the “Proposed Order”)
                                           8   authorizing the Debtor to: (1) continue to use its cash management system, including
                                           9   the continued maintenance of its existing bank accounts and business forms; (2)
                                          10   implement changes to its cash management system in the ordinary course of business,
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                                          11   including opening new or closing existing bank accounts; (3) remit cash received
                                               from capitation revenue related to the Riverside Clinics 2 to or as directed by the
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                                          13   acquirer of those clinics; and (4) obtain related relief.
                                          14           The Debtor further requests that the Court authorize the financial institutions
                                          15   at which the Debtor maintains various bank accounts to (a) continue to maintain,
                                          16   service and administer the Debtor’s bank accounts, and (b) debit the bank accounts
                                          17   in the ordinary course of business on account of (i) wire transfers or checks drawn
                                          18   on the bank accounts, or (ii) undisputed service charges owed to the banks for
                                          19   maintenance of the Debtor’s cash management system, if any.
                                          20

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                                                 All references to “§” or “section” herein are to sections of the Bankruptcy Code,
                                               11 U.S.C. §§ 101, et seq., as amended.
                                               2
                                          24     The term “Riverside Clinics” references all assets, property and rights of the
                                          25
                                               Debtor related to the operations of the following outpatient clinics located in
                                               Riverside County, California: (i) Eastside Health Center Building A, located at
                                          26   1970 University Ave., Riverside, CA; (ii) Eastside Health Center Building B,
                                          27
                                               located at 1971 University Ave., Riverside CA; and (iii) Arlanza Family Health
                                               Center, located at 8856 Arlington Ave., Riverside, CA (collectively, the “Riverside
                                          28   Clinics”).

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                                           1                               BACKGROUND INFORMATION
                                           2           On September 12, 2022, the Debtor filed a voluntary petition for relief under
                                           3   chapter 11 of the Bankruptcy Code.
                                           4           The Debtor is a nonprofit federally qualified health center (“FQHC”) that
                                           5   provides healthcare services to low income and rural patients (collectively,
                                           6   “Patients”) in San Diego and Riverside Counties through a system of twelve clinics,
                                           7   two pharmacies, and six mobile units. In 2021, Debtor provided approximately
                                           8   386,000 patient care visits to over 94,000 patients.             Debtor services include
                                           9   comprehensive primary care, urgent care, behavioral health, dental services, specialty
                                          10   care, transgender health, women’s health, prenatal care, veteran’s health, chiropractic
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                                          11   services, tele-health, and pharmacy.
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                                          12           As set forth in the annexed Memorandum of Points and Authorities, the Debtor
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                                          13   filed this Case to protect its patient population and explore all available restructuring
                                          14   options, particularly since its patient population faces risks as a result of recent steps
                                          15   taken by the California Department of Health Care Services.
                                          16                              SUMMARY OF REQUESTED RELIEF
                                          17           By way of background, in the ordinary course of business, the Debtor utilizes
                                          18   an integrated cash management system to collect, concentrate and disburse funds
                                          19   generated by its operations (the “Cash Management System”).                   The Cash
                                          20   Management System is tailored to meet the Debtor’s operating needs as an operator
                                          21   of a sizeable health system with multiple locations. The Cash Management System
                                          22   enables the Debtor to efficiently collect and disburse cash generated by its business,
                                          23   pay its financial obligations, control and monitor funds and available cash, reduce
                                          24   administrative expenses, and obtain accurate account balances and other financial
                                          25   data. It is critical that the Cash Management System remain intact during this Case
                                          26   to ensure seamless continuation of transactions and uninterrupted collection of
                                          27   revenues and disbursement of internal and third-party obligations, and avoid
                                          28   irreparable harm to the Debtor’s business and its patients.

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                                           1           The Cash Management System currently comprises 6 accounts (the
                                           2   “Accounts”), listed on Exhibit “B” hereto, with two commercial banks (City
                                           3   National Bank and Community Valley Bank) (collectively the “Banks”) and petty
                                           4   cash at various facilities to pay local expenses that require cash. City National Bank
                                           5   is an authorized depository by the Office of the United States Trustee for Region 16
                                           6   (the “U.S. Trustee”), pursuant to the U.S. Trustee’s Operating Guidelines and
                                           7   Reporting Requirements for Debtors in Possession and Trustees (the “UST
                                           8   Guidelines”). Community Valley Bank (“CVB”) is not currently an authorized
                                           9   depository under the UST Guidelines. Two of the CVB accounts are used to deposit
                                          10   receipts. The Debtor proposes to keep those two CVB accounts open, but to sweep
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                                          11   each CVB account to the City National Bank ending in in 1993 whenever the balance
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                                          12   in a CVB account exceeds $10,000. The Debtor will promptly close the CVB account
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                                          13   ending in 8653.
                                          14           The Debtor requests authority to continue utilizing the Accounts. Requiring
                                          15   the Debtor to close certain of the Accounts and open new ones will disrupt the
                                          16   Debtor’s cash flow – and, ultimately, impact patient care – because (i) the depositors
                                          17   (some of which are governmental agencies) will not respond quickly to the change
                                          18   and will likely continue to send deposits to the original deposit account, and (ii) the
                                          19   Debtor has certain obligations that it pays exclusively by electronic funds transfer
                                          20   and changes to the payment accounts have the potential of slowing down these crucial
                                          21   payments.       Closing the Accounts will also increase the work of the Debtor’s
                                          22   accounting personnel, who are already busy addressing the many and varied issues
                                          23   related to this Case.       Closing the Accounts and opening new ones under the
                                          24   circumstances described in the attached Memorandum of Points and Authorities
                                          25   would needlessly cost the Debtor time and money at a time when it is trying to
                                          26   conserve both, and would result in no discernible benefit to the Debtor’s bankruptcy
                                          27   estate (the “Estate”), while potentially causing irreparable harm thereto.
                                          28


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                                           1           The Debtor also requests authority to continue using its business forms without
                                           2   the designation “Debtor in Possession” on them for a limited time. The Debtor’s
                                           3   forms are either electronically printed or can be electronically altered. The Debtor
                                           4   seeks the authority of this Court to utilize its electronically generated forms without
                                           5   the “Debtor in Possession” designation until the adjustments to the software can be
                                           6   initiated and existing stock is exhausted.
                                           7           The Debtor recently sold the assets of the Riverside Clinics to Neighborhood
                                           8   Healthcare, a California nonprofit public benefit corporation (“Neighborhood”) and
                                           9   in connection with that transaction, the Debtor agreed to collect on behalf of
                                          10   Neighborhood and remit to Neighborhood certain capitation payments related to the
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                                          11   Riverside Clinics for a transition period anticipated to end on or about October 1,
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                                          12   2022. Debtor views those funds as belonging to Neighborhood and not constituting
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                                          13   property of the Debtor’s bankruptcy estate and proposes to remit those funds as
                                          14   received to Neighborhood.
                                          15           The Debtor requests that the Court authorize them to continue using its Cash
                                          16   Management System in connection with the continued use of Accounts and continued
                                          17   use of the Debtor’s business forms; in furtherance thereof, the Debtor further requests
                                          18   that the Court authorize and direct the Banks to continue honoring the Debtor’s
                                          19   transactions.
                                          20           In support of the Motion, the Debtor has separately filed the Declaration of
                                          21   Isaac Lee, Chief Restructuring Officer of Borrego Community Health Foundation, in
                                          22   Support of Debtor’s Emergency First Day Motions (the “Lee Declaration”).
                                          23           Based on the foregoing, and for the reasons set forth below, the Debtor
                                          24   respectfully requests that (i) the Motion be heard on an emergency basis 3 pursuant to
                                          25   Rule 9013-9 (the “LBR”) of the United States Bankruptcy Court of the Southern
                                          26

                                          27   3
                                                     Pursuant to LBR 9013-9(b), a separate motion for an expedited hearing is not
                                          28   required.

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                                           1   District of California (the “Court”) and (ii) the Court grant the relief requested in the
                                           2   Motion.
                                           3                              ADDITIONAL INFORMATION
                                           4           The Motion is based on the Notice of Emergency Motions that will be filed
                                           5   and served after obtaining a hearing date for the Debtor’s “First Day Motions,” the
                                           6   attached Memorandum of Points and Authorities, the Lee Declaration, and the
                                           7   arguments of counsel and other admissible evidence properly brought before the
                                           8   Court at or before the hearing on this Motion. In addition, the Debtor requests that
                                           9   the Court take judicial notice of all documents filed with the Court in this Case.
                                          10           The Debtor will serve this Motion, the attached Memorandum of Points and
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                                          11   Authorities, the Lee Declaration and the Notice of Emergency Motions in accordance
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                                          12   with LBR 9013-9(d) and Appendix D1 of the LBR on: (i) the Office of the United
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                                          13   States Trustee, (ii) any alleged secured creditors, (iii) the twenty largest general
                                          14   unsecured creditors appearing on the list filed in accordance with Rule 1007(d) of the
                                          15   Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), (iv) the United
                                          16   States of America and the State of California, (v) parties that file with the Court and
                                          17   served upon the Debtor requests for notices of all matters in accordance with
                                          18   Bankruptcy Rule 2002(i), and (vi) the banks providing the bank accounts. To the
                                          19   extent necessary, the Debtor requests that the Court waive compliance with LBR
                                          20   Bankruptcy Rules 2002 and 6004(a), and approve service (in addition to the means
                                          21   of service set forth in such LBR) by overnight delivery and telephonic notice.
                                          22           Pursuant to Appendix D-1(8) of the LBR, any party who opposes this
                                          23   Emergency First Day Motion must immediately notify the Bankruptcy Judge’s law
                                          24   clerk of its position by telephone at (619) 557-6750. No opposition may be filed to
                                          25   an Emergency First Day Motion unless authorized by the Court.
                                          26           In the event that the Court grants the relief requested by the Motion, the Debtor
                                          27   shall provide notice of the entry of the order granting such relief upon each of the
                                          28


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                                           1   foregoing parties and any other parties in interest as the Court directs. The Debtor
                                           2   submits that such notice is sufficient and that no other or further notice be given.
                                           3                                        CONCLUSION
                                           4           WHEREFORE, for all of the foregoing reasons and such additional reasons
                                           5   as may be advanced at or prior to the hearing regarding this Motion, the Debtor
                                           6   respectfully requests that this Court enter an order providing for the following relief:
                                           7           (i)     Authorizing the Debtor to continue to use its Cash Management System,
                                           8   including to maintain and continue using its existing Accounts and business forms
                                           9   (until existing stock is exhausted), as described in the attached Memorandum of
                                          10   Points and Authorities;
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                                          11           (ii)    Authorizing the Debtor to implement changes to its Cash Management
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                                          12   System in the ordinary course of business, including closing the Accounts or opening
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                                          13   new bank accounts;
                                          14           (iii)   Authorizing and directing the Banks to continue to maintain, service and
                                          15   administer the Accounts in the ordinary course of business, including to honor
                                          16   postpetition checks drawn on and transfers made from the Accounts; and requiring
                                          17   that, in the event the Banks refuse to honor a check drawn or a transfer made on an
                                          18   Account maintained by it (provided there are sufficient good funds in the account to
                                          19   complete the transfer), the Banks immediately turn over the deposits held in the
                                          20   applicable Account upon the Debtor’s request;
                                          21           (iv)    Granting the Banks limited relief from the automatic stay to continue to
                                          22   offset standard monthly bank fees against the Accounts in the same manner as such
                                          23   fees were offset prepetition;
                                          24           (v)     Authorizing the Debtor to remit capitation revenue received with respect
                                          25   to the Riverside Clinics to or as directed by Neighborhood; and
                                          26           (vi)    Granting such other and further relief as is just and proper under the
                                          27   circumstances.
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                                           1    Dated: September 12, 2022                     DENTONS US LLP
                                                                                              SAMUEL R. MAIZEL
                                           2                                                  TANIA M. MOYRON
                                           3
                                                                                              By    /s/Tania M. Moyron
                                           4
                                                                                                       Tania M. Moyron

                                           5                                                  Proposed Attorneys for the Chapter 11
                                                                                              Debtor and Debtor In Possession
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                                           1                  MEMORANDUM OF POINTS AND AUTHORITIES
                                           2                                                I.
                                           3                                       INTRODUCTION
                                           4           Pursuant to Appendix D1-1 of the Local Bankruptcy Rules of the United States
                                           5   Bankruptcy Court for the Southern District of California (the “LBR”), Rule 6003 of
                                           6   the Federal Rules of Bankruptcy Procedures (the “Bankruptcy Rules”), and §§ 362,
                                           7   363 and 105 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the
                                           8   “Bankruptcy Code”), Borrego Community Health Foundation (the “Debtor”), the
                                           9   debtor and debtor in possession in the above-captioned Chapter 11 bankruptcy case
                                          10   (the “Case”) has moved, on an emergency basis, in the Motion (the “Motion”) for
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                                          11   entry of an order (substantially in the form attached hereto as Exhibit “A”, the
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                                          12   “Proposed Order”) authorizing the Debtor to: (1) continue to use its cash management
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                                          13   system, including the continued maintenance of its existing bank accounts and
                                          14   business forms; (2) implement changes to its cash management system in the
                                          15   ordinary course of business, including opening new or closing existing bank
                                          16   accounts; (3) remit cash received from capitation revenue related to the Riverside
                                          17   Clinics4 to or as directed by the acquirer of those clinics; and (4) obtain related relief.
                                          18           The Debtor further requests that the Court authorize the financial institutions
                                          19   at which the Debtor maintains various bank accounts to (a) continue to maintain,
                                          20   service and administer the Debtor’s bank accounts, and (b) debit the bank accounts
                                          21   in the ordinary course of business on account of (i) wire transfers or checks drawn
                                          22

                                          23
                                               4
                                          24     The term “Riverside Clinics” references all assets, property and rights of the
                                          25
                                               Debtor related to the operations of the following outpatient clinics located in
                                               Riverside County, California: (i) Eastside Health Center Building A, located at
                                          26   1970 University Ave., Riverside, CA; (ii) Eastside Health Center Building B,
                                          27
                                               located at 1971 University Ave., Riverside CA; and (iii) Arlanza Family Health
                                               Center, located at 8856 Arlington Ave., Riverside, CA (collectively, the “Riverside
                                          28   Clinics”).

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                                           1   on the bank accounts, or (ii) undisputed service charges owed to the banks for
                                           2   maintenance of the Debtor’s cash management system, if any.
                                           3                                                II.
                                           4                                        JURISDICTION
                                           5           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
                                           6   1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The venue of this
                                           7   Case is proper pursuant to 28 U.S.C. §§ 1408 and 1409.
                                           8                                               III.
                                           9                                  STATEMENT OF FACTS
                                          10           A.      GENERAL BACKGROUND
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                                          11           1.      On September 12, 2022 (“Petition Date”), Borrego Community Health
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                                          12   Foundation “Debtor”) filed a voluntary petition for relief under chapter 11 of title 11
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                                          13   of the United States Code (the “Bankruptcy Code”).5
                                          14           2.      The Debtor is a non-profit 501(c)(3) public charity, a federally qualified
                                          15   health center (“FQHC”), and a federal tort claims act deemed facility that, as of
                                          16   September 12, 2022, had twenty-four (24) bricks and mortar sites, including
                                          17   administrative sites, two (2) pharmacies, and six (6) mobile units. The Debtor’s
                                          18   service area covers a 250-mile corridor on the eastern side of San Diego and
                                          19   Riverside Counties, California. During 2021, the Debtor provided 235,901 primary
                                          20   care, 61,532 pediatric care, 16,246 behavioral health, 15,895 dental service and
                                          21   33,441 women’s health patient care visits.
                                          22           3.      FQHCs are federally designated entities that receive higher state
                                          23   payments to provide health care services to low income and rural families. The
                                          24   Debtor’s health services are targeted to families with incomes below 200% of the
                                          25   poverty level. As a FQHC, the Debtor strives to deliver high quality, comprehensive,
                                          26

                                          27   5
                                                All references to “§” or “section” herein are to sections of the Bankruptcy Code,
                                          28   11 U.S.C. §§ 101, et seq., as amended.

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                                           1   compassionate primary health care to people in the surrounding area, regardless of
                                           2   ability to pay.
                                           3           4.      The Debtor was organized in the early 1990s to operate a holistic health
                                           4   clinic in Borrego Springs, a small unincorporated community in the northeast corner
                                           5   of San Diego County, California. In 2002, when the Debtor gained recognition as a
                                           6   FQHC, it operated one clinic in Borrego Springs with seventeen (17) employees
                                           7   providing 7,400 patient visits. The Debtor has since grown to approximately 700
                                           8   employees serving over 94,000 patients in eighteen (18) clinics, and six (6) mobile
                                           9   units throughout San Diego and Riverside counties excluding Riverside Community
                                          10   Health Foundation (“RCHF”) affiliated clinics.
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                                          11           5.      The Debtor to be the community leader in improving the health of the
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                                          12   populations in our service area. Its primary focus is the underserved, with an
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                                          13   empowering workforce providing measurable quality and compassionate care.
                                          14           6.      The Debtor’s services include comprehensive primary care, pediatric
                                          15   care, urgent care, behavioral health, dental services, specialty care, transgender
                                          16   health, women’s health, prenatal care, veteran’s care, chiropractic services, telehealth
                                          17   and pharmacy.
                                          18           7.      The Debtor is an active partner in the training of medical residents,
                                          19   medical students, nurse practitioner students, physician assistant students, nursing
                                          20   students, and other healthcare professionals.
                                          21           8.      Since the commencement of the Case, the Debtor has been operating as
                                          22   debtor in possession pursuant to §§ 1107 and 1108 of the Bankruptcy Code.
                                          23           9.      To date, no official committee or examiner has been appointed by the
                                          24   Office of the United States Trustee in this Case.
                                          25           10.     Additional background facts on the Debtor, the Debtor’s business,
                                          26   information on the Debtor’s capital structure and additional events leading up this
                                          27   Case are contained in the Lee Declaration.
                                          28


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                                           1           B.      RELEVANT BACKGROUND TO MOTION
                                           2           1.      As set forth above, as well as in the concurrently filed Lee Declaration,
                                           3   the Debtor maintains 6 Accounts with two Banks and an internal petty cash account,
                                           4   as further detailed herein. 6 The Debtor’s primary disbursement and collection
                                           5   account and payroll account are with City National Bank.
                                           6           C.      BALANCE IN ACCOUNTS
                                           7           1.      As of the Petition Date, the aggregate balance in the Accounts was
                                           8   approximately $5.2 million. City National Bank is an approved depository for funds
                                           9   of debtor in possession by the U.S. Trustee, so the funds in these Accounts –
                                          10   approximately $1.7 million in aggregate – are protected as required by § 345 of the
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                                          11   Bankruptcy Code. For Community Valley Bank which is not an approved depository
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                                          12   institution, the Accounts are generally not very active and the two active accounts
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                                          13   are used for smaller deposits which would be difficult to get the payors to redirect.
                                          14   Less than $3.7 million in the aggregate is currently maintained at Community Valley
                                          15   Bank.
                                          16                                               IV.
                                          17                                         DISCUSSION
                                          18           Statutory support for the requested relief exists pursuant to §§ 105(a) and
                                          19   363(b)(1) and (c)(1) and the “necessity of payment” doctrine. Section 363(c)(1)
                                          20   authorizes a debtor in possession to enter into transactions in the ordinary course of
                                          21   business without notice and a hearing; whereas § 363(b)(1) authorizes a debtor in
                                          22   possession to use property of the estate other than in the ordinary course of business
                                          23   after notice and a hearing.         The Debtor requests to continue using its Cash
                                          24   Management System in the ordinary course of business; but even if any of the relief
                                          25   requested herein could be considered outside the ordinary course, the Court may
                                          26   approve it.
                                          27   6
                                                A full list of Accounts is included as Exhibit “B” hereto along with a schematic
                                          28   showing the flow of funds into each account attached as part of that exhibit.

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                                           1           Pursuant to § 105(a), “the court may issue any order, process, or judgment that
                                           2   is necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. §
                                           3   105(a). Essentially, § 105(a) provides a statutory counterpart to the bankruptcy
                                           4   court’s otherwise inherent and discretionary equitable powers. See In re Sasson, 424
                                           5   F.3d 864, 874 (9th Cir. 2005).
                                           6           The Cash Management System constitutes an ordinary course and essential
                                           7   business practice of the Debtor. The Cash Management System provides significant
                                           8   benefits to the Debtor including, among other things, the ability to (a) control
                                           9   operating funds, (b) ensure the maximum availability of funds when and where
                                          10   necessary, and (c) reduce costs and administrative expenses by facilitating the
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                                          11   movement of funds and the development of more timely and accurate account
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                                          12   information.
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                                          13           The operation of the Debtor requires that the Cash Management System
                                          14   continue during the pendency of this Case. As a practical matter, because of the
                                          15   Debtor’s history and structure, it would be difficult and expensive to establish and
                                          16   maintain a new cash management system; and it would be extraordinarily disruptive
                                          17   and harmful to its operations at this early and critical stage of this Case.
                                          18   Reestablishing and reconnecting deposits and billings to new accounts would be
                                          19   impractical, costly, and an inefficient use of the Debtor’s resources. Any such
                                          20   disruption would have a severe, adverse, and potentially irreparable impact upon the
                                          21   Estate. Consequently, maintaining the Cash Management System is in the best
                                          22   interest of all parties in interest, including patients.
                                          23           The Court may exercise its equitable powers to grant the relief requested
                                          24   herein. Permitting the Debtor to continue using its Cash Management System
                                          25   without interruption is critical to the success of this Case. As currently structured, the
                                          26   Debtor’s Cash Management System enables the Debtor to transfer its revenues,
                                          27   deposits and other receipts toward the payment of its obligations, and recognizes the
                                          28   operation of the Debtor’s various locations and functions as an integrated health

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                                           1   system. Without the Cash Management System, the Debtor’s efforts to preserve and
                                           2   maximize value would be impaired. It is well within the Court’s equitable powers
                                           3   pursuant to §§ 105(a) and 363 to approve the relief requested herein.
                                           4   A.      Maintenance of the Accounts Is in the Best Interests of the Estate
                                           5           The UST Guidelines require a chapter 11 debtor in possession to open new
                                           6   bank accounts and close all existing accounts upon the commencement of its
                                           7   bankruptcy case. The UST Guidelines also require that new bank accounts be opened
                                           8   at certain financial institutions designated as authorized depositories by the U.S.
                                           9   Trustee.     See Notice Of Requirements For Chapter 11 Debtors In Possession,
                                          10   available at www.usdoj.gov/ust/r16.
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                                          11           However, requiring the Debtor to close the Accounts and to open new ones
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                                          12   will disrupt the Debtor’s business and cash flow, which could affect patient care.
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                                          13   Further, closing the Accounts and opening new ones will also increase the work
                                          14   required of the Debtor’s accounting personnel who already are busy addressing the
                                          15   many and varied issues related to the commencement of this Case, and would
                                          16   needlessly cost the Debtor’s time and money with no discernible benefit to the Estate
                                          17   at a time when it is trying to conserve both.
                                          18           LBR 2015-1 requires that a debtor comply with the UST Guidelines. The
                                          19   Debtor hereby seeks a waiver of the U.S. Trustee’s requirements that it close the
                                          20   existing Accounts and open new postpetition bank accounts at depositories
                                          21   authorized by the U.S. Trustee. The Debtor requests instead that it be allowed to
                                          22   convert the Accounts, which are already primarily at depositories authorized by the
                                          23   U.S. Trustee, to “debtor in possession” accounts and continue to utilize them as
                                          24   necessary to best serve its business needs.
                                          25           Even though the Debtor has multiple accounts, the Debtor only utilizes one
                                          26   account at City National Bank for its daily disbursements to trade vendors and one
                                          27   account at Community Valley Bank for certain periodic disbursements (the Debtor
                                          28   plans to consolidate those disbursements into the City National Bank disbursement

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                                           1   account post-petition).       As such, there will be no confusion of postpetition
                                           2   transactions with prepetition ones. Requiring the Debtor to close the Accounts would
                                           3   serve no purpose but would, as stated, delay the Debtor’s ability to utilize its funds,
                                           4   put further burdens on accounting personnel dealing with the Debtor’s many financial
                                           5   issues and cost the Debtor’s time and money better used in its efforts to maximize
                                           6   value of the Estate for its creditors.
                                           7           Bankruptcy courts across the country routinely grant relief similar to that
                                           8   requested in this Motion; because such considerations are so obvious, however, few
                                           9   decisions related to such requests are published or reported. But see In re Gen.
                                          10   Growth Props., Inc., 412 B.R. 609 (Bankr. S.D.N.Y. 2009); In re UAL Corp., No.
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                                          11   02-B-48191, 2002 WL 34344255 (Bankr. N.D. Ill. Dec. 9, 2002). Local bankruptcy
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                                          12   courts have routinely (a) waived the strict enforcement of the U.S. Trustee Guidelines
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                                          13   requiring closing prepetition bank accounts and (b) approved the continued use of
                                          14   existing cash management systems, including a hospital system’s authority to
                                          15   continue using prepetition bank accounts. See, e.g., In re Victor Valley Cmty. Hosp.,
                                          16   Case No. 10-39537-CB, Docket No. 32 (Bankr. C.D. Cal. Sep. 17, 2010); In re
                                          17   Downey Reg’l Med. Ctr.-Hosp., Inc., Case No. 09-34714-BB, Docket No. 38 (Bankr.
                                          18   C.D. Cal. Sep. 17, 2009); In re Z Gallerie, Case No. 09-18400-VZ, Docket No. 46
                                          19   (Bankr. C.D. Cal. Apr. 16, 2009). The Debtor respectfully submits that continued
                                          20   use of the Accounts should be approved in this Case as well.
                                          21   B.      Honoring Certain Prepetition Obligations Related to the Cash
                                          22           Management System Should Be Approved
                                          23           The Debtor incurs periodic service charges and other fees from the Banks in
                                          24   connection with the maintenance of the Cash Management System (collectively, the
                                          25   “Bank Fees”), which average approximately $1,600 per month, which the Debtor’s
                                          26   estimate that it owes as of the Petition Date and is payable on or about September 19,
                                          27   2022. Payment of any prepetition Bank Fees is in the best interests of the Debtor and
                                          28   all parties in interest in this Case, as it will prevent unnecessary disruptions to the

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                                           1   Cash Management System and ensure that the Debtor’s receipt of funds are not
                                           2   delayed. Further, because the Banks likely have setoff rights for the Bank Fees,
                                           3   payment of prepetition Bank Fees should not alter the rights of unsecured creditors
                                           4   in this Case.
                                           5   C.      Authorizing and Directing the Banks to Honor Postpetition Checks and
                                           6           Granting Banks Limited Relief from the Automatic Stay
                                           7           In relation to the above requested relief, the Debtor also requests that the Court:
                                           8   (i) authorize and direct the Banks to honor postpetition checks drawn on and transfers
                                           9   made from the Accounts; (ii) require that in the event the Banks refuse to honor
                                          10   checks drawn on the Debtor’s Accounts or transfer instructions made on its Accounts
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                                          11   (provided there are sufficient good funds in the account to honor the checks or
                                               transfer instructions and the checks are otherwise properly payable), the Banks
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                                          13   immediately turn over the deposits held in the applicable Accounts upon the Debtor’s
                                          14   request, and (iii) grant the Banks limited relief from the automatic stay to continue to
                                          15   offset standard monthly or periodic bank fees against the Accounts in the same
                                          16   manner as such fees were offset prepetition. Courts in this district have routinely
                                          17   granted this relief, and the Debtor respectfully submits that the same relief should be
                                          18   approved in this Case as well. See citations, at 24, ll. 4-7, supra.
                                          19   D.      Maintenance of the Debtor’s Existing Business Forms Is in the Best
                                          20           Interests of the Estate
                                                       The Debtor is also requesting authority to continue using its business forms
                                          21
                                               without the designation “Debtor in Possession” on them for a limited time. Many of
                                          22
                                               the Debtor’s business forms are electronically generated or, if printed, can be
                                          23
                                               electronically altered. The Debtor seeks the authority of this Court to utilize its forms
                                          24
                                               without the “Debtor in Possession” designation until existing stock is exhausted, and
                                          25
                                               until the Debtor can make the necessary adjustments to its software so that these
                                          26
                                               forms will contain the phrase “Debtor in Possession.”
                                          27

                                          28


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                                           1           Courts in this district routinely grant authority to continue using existing
                                           2   business forms in chapter 11 cases until new forms can be printed and its current
                                           3   stock is depleted. See citations, at 24, ll. 4-7, supra. Such authority is routinely
                                           4   granted excusing a business enterprise from suffering the disruption and expense of
                                           5   immediately replacing or otherwise placing the “Debtor in Possession” designation
                                           6   on all of its pre-existing business forms, hampering the administration of a chapter
                                           7   11 case to the further economic detriment of creditors while the new forms are being
                                           8   generated, all because it is counter-productive to the purpose of the bankruptcy filing.
                                           9           Accordingly, the Debtor respectfully requests continued use of its existing
                                          10   business forms as set forth above, until existing stock is exhausted.
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                                          11   E.      The Court Should Authorize the Banks to Immediately Release Any and
                                                       All Administrative Holds and/or Freezes That They May Have on the
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                                                       Accounts
                                          13
                                                       The United States Supreme Court as well as courts within the Ninth Circuit
                                          14
                                               have discussed whether the placement of an administrative “freeze” or hold on a
                                          15
                                               debtor’s bank account violates the automatic stay; and their holdings depend on
                                          16
                                               several factors including under which chapter of the Bankruptcy Code the case is
                                          17
                                               proceeding and what, if any, setoff rights the bank holds. See, e.g., Citizens Bank of
                                          18
                                               Md. v. Strumpf, 516 U.S. 16 (1995); In re Mwangi, 764 F.3d 1168 (9th Cir. 2014); In
                                          19
                                               re Tuscan Ranch, Inc., No. BAP AZ-11-1045, 2012 WL 603639, at *6 (B.A.P. 9th
                                          20
                                               Cir. Feb. 2, 2012).
                                          21
                                                       The Debtor is not seeking any determination from the Court at this time with
                                          22
                                               respect to the validity or the permissibility of the policy described above.
                                          23
                                               Nonetheless, as the Debtor is seeking to keep the Cash Management System in place,
                                          24
                                               and concurrently requesting authority to immediately pay prepetition payroll, in an
                                          25
                                               abundance of caution, the Debtor respectfully requests that the Court exercise its
                                          26
                                               authority pursuant to § 105 and authorize the immediate release on all holds or freezes
                                          27
                                               on the Accounts.
                                          28


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                                           1   F.      The Court Should Authorize the Debtor to Remit Capitation Payments
                                           2           Received by the Debtor Related to the Riverside Clinics to or as Directed
                                                       by the Purchaser of the Riverside Clinics
                                           3
                                                       The Debtor recently sold the assets of the Riverside Clinics to Neighborhood
                                           4
                                               Healthcare, a California nonprofit public benefit corporation (“Neighborhood”) and
                                           5
                                               in connection with that transaction, the Debtor agreed to collect on behalf of
                                           6
                                               Neighborhood and remit to Neighborhood certain capitation payments related to the
                                           7
                                               Riverside Clinics for a transition period anticipated to end on or about October 1,
                                           8
                                               2022. Debtor views those funds as belonging to Neighborhood and not constituting
                                           9
                                               property of the Debtor’s bankruptcy estate and proposed to remit those funds as
                                          10
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                                               received to or as directed by Neighborhood.
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                                          11
                                                                                            V.
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                                                                                    CONCLUSION
                                          13
                                                       WHEREFORE, for all the foregoing reasons and such additional reasons as
                                          14
                                               may be advanced at or prior to the hearing on the Motion, the Debtor respectfully
                                          15
                                               requests that this Court enter an Order:
                                          16
                                                       (a)     Authorizing the Debtor to continue to use its Cash Management System,
                                          17
                                               including to maintain and continue using its existing Accounts and business forms
                                          18
                                               (until existing stock is exhausted);
                                          19
                                                       (b)     Authorizing the Debtor to implement changes to its Cash Management
                                          20
                                               System in the ordinary course of business, including closing the Accounts or opening
                                          21
                                               new bank accounts;
                                          22
                                                       (c)     Authorizing and directing the Banks to continue to maintain, service and
                                          23
                                               administer the Accounts in the ordinary course of business, including to honor
                                          24
                                               postpetition checks drawn on and transfers made from the Accounts; and requiring
                                          25
                                               that, in the event the Banks refuse to honor a check drawn or a transfer made on an
                                          26
                                               Account maintained by it (provided there are sufficient good funds in the account to
                                          27

                                          28


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                                           1   complete the transfer), the Banks immediately turn over the deposits held in the
                                           2   applicable Account upon the Debtor’s request;
                                           3           (e)     Granting the Banks limited relief from the automatic stay to continue to
                                           4   offset standard monthly bank fees against the Accounts in the same manner as such
                                           5   fees were offset prepetition, including those fees accrued prepetition in the amount
                                           6   of approximately $1,500.00;
                                           7           (f)     Authorizing the Debtor to remit capitation revenue received with respect
                                           8   to the Riverside Clinics to or as directed by Neighborhood; and
                                           9           (g)     Granting such other and further relief as is just and proper under the
                                          10   circumstances.
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                                          11    Dated: September 12, 2022                     DENTONS US LLP
                                                                                              SAMUEL R. MAIZEL
         DENTONS US LLP




                                          12                                                  TANIA M. MOYRON
            (213) 623-9300




                                          13
                                                                                              By    /s/Tania M. Moyron
                                          14                                                           Tania M. Moyron
                                          15                                                  Proposed Attorneys for the Chapter 11
                                                                                              Debtor and Debtor In Possession
                                          16

                                          17

                                          18

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                                      Exhibit “A”
                                (Proposed Order)
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                                                                                                         Exhibit A


CSD 1008 [08/21/00]
Name, Address, Telephone No. & I.D. No.
DENTONS US LLP
SAMUEL R. MAIZEL (Bar No. 189301)
TANIA M. MOYRON (Bar No. 235736)
601 South Figueroa Street, Suite 2500
Los Angeles, California 90017-5704
Tel: (213) 623-9300 | Fax: (213) 623-9924

Proposed Attorneys for the Chapter 11 Debtor and Debtor in Possession

             UNITED STATES BANKRUPTCY COURT
            SOUTHERN DISTRICT OF CALIFORNIA
  325 West F Street, San Diego, California 92101-6991

In Re                                                                         BANKRUPTCY NO.22-02384
BORREGO COMMUNITY HEALTH FOUNDATION                                           Date of Hearing:
                                                                              Time of Hearing:
                                                                              Name of Judge: Honorable Laura S. Taylor
                                                 Debtor.

                                                   ORDER ON

    EMERGENCY      FIRST   DAY   MOTION  OF    DEBTOR    FOR    AUTHORITY   TO:
    (I) CONTINUE USING EXISTING CASH MANAGEMENT SYSTEM, BANK ACCOUNTS AND
    BUSINESS FORMS; (II) IMPLEMENT CHANGES TO THE CASH MANAGEMENT SYSTEM IN
    THE ORDINARY COURSE OF BUSINESS; (III) REMIT CAPITATION PAYMENTS TO OR AS
    DIRECTED BY THE PURCHASER OF THE RIVERSIDE CLINICS; AND (IV) OBTAIN RELATED
    RELIEF
    The court orders as set forth on the continuation pages attached and numbered 2 through 4 with
   exhibits, if any, for a total of pages 6 . Motion/Application Docket Entry No. _____.



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    DATED:
                                                              Judge, United States Bankruptcy Court



    CSD 1001A



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                                                                                           Exhibit A



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    ORDER ON EMERGENCY FIRST DAY MOTION OF DEBTOR FOR AUTHORITY TO:
    (I) CONTINUE USING EXISTING CASH MANAGEMENT SYSTEM, BANK ACCOUNTS AND
    BUSINESS FORMS; (II) IMPLEMENT CHANGES TO THE CASH MANAGEMENT SYSTEM IN
    THE ORDINARY COURSE OF BUSINESS; (III) REMIT CAPITATION PAYMENTS TO OR AS
    DIRECTED BY THE PURCHASER OF THE RIVERSIDE CLINICS; AND (IV) OBTAIN
    RELATED RELIEF
    DEBTOR: BORREGO COMMUNITY HEALTH FOUNDATION                        CASE NO: 22-02384


Having considered the Emergency Motion,1 the accompanying Memorandum of Points and
Authorities in support of the Emergency Motion, and the Declaration of Isaac Lee in support of
the Emergency Motion, the arguments of counsel at the hearing, and good cause appearing
therefore,
IT IS FURTHER ORDERED that:
         1.     The Emergency Motion is granted in its entirety.

         2.    The Debtor is authorized and empowered pursuant to sections 105(a), 363, 364,
503 and 507 of the Bankruptcy Code to continue using its Cash Management System and to
collect, concentrate, and disburse cash in accordance with the Cash Management System;

        3.      The Debtor is authorized to implement changes to its Cash Management System
in the ordinary course of business, including closing any existing bank accounts or opening any
new bank accounts (collectively, the “Accounts”) as the Debtor may deem necessary and
appropriate in its sole discretion; provided that any such new account is (i) with a bank that is (A)
insured with the Federal Deposit Insurance Corporation or the Federal Savings and Loan
Insurance Corporation and (B) designated as an authorized depository pursuant to the UST
Guidelines, and (ii) the Debtor provides notice to the U.S. Trustee of the opening of such account.
The Debtor may keep the two accounts at Community Valley Bank where deposits are received
open for purposes of continuing to collect those receipts from payors provided it shall forward
excess funds to the City National Bank disbursement account to the extent any funds on deposit
at an account at Community Valley Bank exceeds $10,000 at any time;

         4.    The Debtor is authorized to (i) continue to use, with the same account numbers,
all of the Accounts in existence as of the Petition Date, including those Accounts identified on
Exhibit “B” to the Emergency Motion; and (ii) treat the Accounts for all purposes as accounts of
the Debtor as debtor in possession;




1
 Defined terms in this Order shall have the same meaning as in the Emergency Motion
unless otherwise defined herein.


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       5.      The Debtor is authorized to continue to use, in their present form, all
correspondence and business forms, as well as checks and all other documents related to the
Accounts (collectively, the “Business Forms”) existing immediately before the Petition Date,
without reference to the Debtor’s status as debtor in possession, until existing stock is exhausted;
provided that in the event the Debtor generate new Business Forms during the pendency of this
chapter 11 Case, such Business Forms shall include a legend referring to the Debtor as “Debtor
in Possession,” and, to the extent practicable, the Debtor shall print such legend on any Business
Forms electronically generated during this case;

        6.       Except as otherwise provided in this Order, all banks at which the Accounts are
maintained (collectively, the “Banks”) are authorized and directed to continue to maintain, service
and administer the Accounts as accounts of the Debtor as debtor in possession, without
interruption and in the ordinary course of business, and to receive, process, honor and pay any
and all checks, drafts, wires, and ACH payments issued by the Debtor and drawn on the Accounts
after the Petition Date to the extent the Debtor has sufficient funds standing to its credit with such
Bank; provided that any payments drawn, issued or made prior to the Petition Date shall not be
honored absent direction of the Debtor and a separate order of the Court authorizing such
prepetition payment;

        7.      In the event the Banks refuse to honor a check drawn or a transfer made on an
Account maintained by it (provided there are sufficient good funds in the account to complete the
transfer), the Banks are authorized and directed to immediately turn over the deposits held in the
applicable Account upon the Debtor’s request;

       8.      The Banks are authorized to charge and the Debtor is authorized to pay and honor,
both prepetition and postpetition service and other fees, costs, charges, and expenses to which
the Banks may be entitled under the terms of and in accordance with the Banks’ contractual
arrangements with Debtor (collectively, the “Service Charges”);

          9.     The Banks are authorized to debit the Debtor’s accounts in the ordinary course of
business without need for further order of this Court for: (i) all checks, items, and other payment
orders drawn on the Debtor’s accounts that are cashed at such Bank’s counters or exchanged for
cashier’s checks by the payees thereof prior to the Bank’s receipt of notice of filing of the Petition;
(ii) all checks, automated clearing house entries, and other items deposited or credited to one of
the Debtor’s accounts with such Bank prior to the Petition Date that have been dishonored,
reversed, or returned unpaid for any reason, together with any fees and costs in connection
therewith, to the same extent the Debtor was responsible for such costs and fees prior to the
Petition Date; and (iii) all undisputed prepetition amounts outstanding as of the date hereof, if any,
owed to any Bank as Service Charges for the maintenance of the Cash Management System;




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        10.      As of the Petition Date, the Banks may rely on the representations of the Debtor
with respect to whether any check, item, or other payment order drawn or issued by the Debtor
prior to filing of the Petition should be honored pursuant to this or any other order of this Court,
and such Bank shall not have any liability to any party for relying on such representations by the
Debtor as provided for herein, and shall not be liable to any party on account of (i) following the
Debtor’s representations, instructions, directions, or presentations as to any order of the Court
(without any duty of further inquiry), (ii) honoring of any prepetition checks, drafts, wires or ACH
payments in a good faith belief or upon a representation by the Debtor that the Court has
authorized such prepetition check, draft, wire or ACH payments or (iii) an innocent mistake made
despite implementation of reasonable handling procedures;

        11.    Those certain existing deposit agreements between the Debtor and the Banks
shall continue to govern the postpetition cash management relationship between the Debtor and
the Banks, and all of the provisions of such agreements, including, without limitation, the
termination and fee provisions, shall remain in full force and effect; either the Debtor or the Banks
may, without further order of this Court, implement changes to the Debtor’s Cash Management
System in the ordinary course of business pursuant to the terms of those certain existing deposit
agreements, including the opening and closing of bank accounts;

        12.    The relief, rights, and responsibilities provided for in this Order shall be deemed to
apply to any and all Accounts maintained in the Debtor’s name, including any new bank accounts,
whether or not such Accounts are identified on Exhibit “B” to the Motion, and any Banks at which
new accounts are opened shall be subject to the rights and obligations of this Order;

       13.     The Debtor is authorized to remit capitation revenue received with respect to the
Riverside Clinics to or as directed by Neighborhood Healthcare;

        14.     Nothing contained in this Order, nor any payment made pursuant to the authority
granted by this Order, is intended to be or shall be construed as (i) an admission as to the validity
of any claim against the Debtor, (ii) a waiver of the Debtor’s or any appropriate party in interest’s
rights to dispute the amount of, basis for, or validity of any claim against the Debtor, (iii) a waiver
of any claims or causes of action which may exist against any creditor or interest holder, or (iv) an
approval, assumption, adoption, or rejection of any agreement, contract, lease, program, or policy
between the Debtor and any third party under section 365 of the Bankruptcy Code;

      15.     Nothing herein shall create, nor is intended to create, any rights in favor of or
enhance the status of any claim held by any party;

        16.     Notice of the Emergency Motion as provided therein shall be deemed good and
sufficient notice, and the requirements of Bankruptcy Rules 2002 and 6004(a) and LBR 9013(9)(d)
and Appendix D-1(2) the Local Bankruptcy Rules are waived and/or satisfied by such notice.

        17.     The Debtor is authorized to take all action necessary to effectuate the relief granted
in this Order; and

        18.     The Court shall retain jurisdiction to hear and determine all matters arising from or
related to the implementation, interpretation, and/or enforcement of this Order.

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                                  EXHIBIT “B”
                     (Description of Bank Accounts and Flow
                           of Funds Schematic Chart)
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                                           1                                              EXHIBIT B
                                           2           Description of Bank Accounts and Flow of Funds Schematic Chart
                                           3
                                                     Bank                 Type             Description     Account No.
                                           4    1    City National        Checking         Account Payable   xxxx1993
                                                     Bank                                  and Depository
                                           5
                                                                                           from Larger
                                           6                                               Payors
                                                2    City National        Payroll          Payroll           xxxx2000
                                           7
                                                     Bank                 Checking
                                           8    3    City National        Money            Deposits from           xxxx2612
                                                     Bank                 Market           Grants
                                           9
                                                4    Community            Checking         Smaller Deposits          xxx2472
                                          10         Valley Bank
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11
                                                5    Community            Specialty        Not Active in          xxxxxx8653
                                                     Valley Bank          Checking         CY 2022 –
         DENTONS US LLP




                                          12                                               balance around
            (213) 623-9300




                                          13                                               $3,000
                                                6    Community            Woolcott         No material               xxx6421
                                          14         Valley Bank          Dental Clinic    activity in CY
                                          15                                               2022
                                                                                           (approximately
                                          16                                               $70/Month of
                                          17                                               debits)
                                                7    Internal Petty       Petty Cash       No material                     N/A
                                          18         Cash                                  activity in CY
                                          19                                               2022 (around
                                                                                           $300 of deposits
                                          20                                               and around
                                          21                                               $1,800 of
                                                                                           withdrawal).
                                          22                                               The total amount
                                          23                                               of all petty cash
                                                                                           at all facilities is
                                          24                                               under $15,000.
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601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11
         DENTONS US LLP




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            (213) 623-9300




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